Case 2:19-cv-02706-SHL-dkv Document 14 Filed 11/20/19 Page 1 of 2                    PageID 40



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


MICHELLE A. CAMPBELL,                                     )
                                                          )
        Plaintiff,                                        )
                                                          )
v.                                                        )          No. 2:19-cv-2706-SHL-dkv
                                                          )          JURY DEMAND
CITY OF MEMPHIS,                                          )
                                                          )
        Defendant.                                        )


     DEFENDANT CITY OF MEMPHIS’ UNOPPOSED MOTION FOR EXTENSION OF
     TIME TO ANSWER OR OTHERWISE RESPOND TO PLAINTIFF’S COMPLAINT


        Defendant City of Memphis moves for an extension of time until December 19, 2019, to

answer or otherwise respond to Plaintiff’s Complaint.          In support of the instant Motion,

Defendant states as follows:

        1.      Plaintiff filed the instant Complaint on October 16, 2019. (ECF No. 1.)

        2.      Plaintiff served Defendant City of Memphis on October 31, 2019. (ECF No. 9.)

        3.      Counsel for Defendant filed a Notice of Appearance on November 15, 2019.

(ECF No. 11.)

        4.      Undersigned counsel has diligently worked to acquire the necessary factual

information to respond adequately to Plaintiff’s Complaint but requires additional time to

evaluate Defendant’s potential defenses.

        5.      Undersigned counsel is certain that the additional time requested will provide

sufficient time to determine all appropriate defenses in this matter.

        6.      The purpose of this request is not to cause delay.
Case 2:19-cv-02706-SHL-dkv Document 14 Filed 11/20/19 Page 2 of 2                 PageID 41



       7.     Plaintiff does not oppose extension of time for Defendant to answer or otherwise

respond.

       WHEREFORE, PREMISES CONSDIERED, Defendant prays the Court grant it an

extension of time until December 19, 2019, to answer or otherwise respond to Plaintiff’s

Complaint.

       Respectfully submitted, this 20th day of November 2019.

                                                   BURCH, PORTER & JOHNSON, PLLC

                                                   /s/ Sarah E. Stuart
                                                   Tannera George Gibson (BPR #27779)
                                                   Melisa T. Moore (BPR #28709)
                                                   Sarah E. Stuart (BPR #35329)
                                                   130 North Court Avenue
                                                   Memphis, Tennessee 31803
                                                   (901) 524-5000 Telephone
                                                   (901) 524-5024 Facsimile
                                                   tgibson@bpjlaw.com
                                                   mmoore@bpjlaw.com
                                                   sstuart@bpjlaw.com

                                                   Counsel for Defendant City of Memphis


                              CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy of the foregoing document
was forwarded via the Court’s electronic filing system this 20th day of November, 2019 to
counsel of record for this matter.

                                                   /s/ Sarah E. Stuart


                          CERTIFICATE OF CONSULTATION
        The undersigned hereby certifies that counsel for Defendant consulted with counsel for
Plaintiff by email on November 19, 2019, and Plaintiff does not oppose this motion.
                                                   /s/ Sarah E. Stuart




                                             -2-
